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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

    CommScope, Inc., CommScope Inc. of       )
    North Carolina, and CommScope            )
    Technologies, LLC,                       )
                                             )
                Plaintiffs,                  )
                                             )
    v.                                       )
                                             )
    Rosenberger Technology (Kunshan)         ) Civil Action No. 19-cv-15962-JXN-
    Co. Ltd., Rosenberger Asia Pacific       ) LDW
    Electronic Co., Ltd., Rosenberger        )
    Technology LLC, Rosenberger USA          )
    Corp., Rosenberger North America         )
    Pennsauken, Inc., Rosenberger Site       )
    Solutions, LLC, Rosenberger              )
    Hochfrequenztechnik GmbH & Co.           )
    KG, Northwest Instrument, Inc.,          )
    CellMax Technologies AB,                 )
                                             )
                Defendants.                  )
                                             )


      DECLARATION OF MICHAEL S. DEVINCENZO IN SUPPORT OF
    JOINT MOTION OF ALL PARTIES FOR RECONSIDERATION OF THE
        DENIAL OF THE REQUESTED EXTENSION BASED ON NEW
        INFORMATION, OR, IN THE ALTERNATIVE, TO STAY THE
                           LITIGATION
   I, Michael S. DeVincenzo, declare as follows:

   1.    I am a Partner at King & Wood Mallesons LLP, admitted to practice in the

   state of New York and pro hac vice in this matter, and am one of the attorneys of

   record for the defendants in this case. I make this declaration based upon my

   personal knowledge and am competent to testify as to the matters stated herein.
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   2.        I have attempted to determine whether travel documents could be obtained

   in China for the purposes of deposition. It is my understanding that travel is not

   permitted, and documents could not be obtained for travel at this time. It is unclear

   when individuals will be able to receive travel documents for non-emergency

   travel.

   3.        CommScope’s witnesses in China—including Li Yuemin, Wu Ligang, and

   Xu Guolong—are believed to be the principal source of testimony concerning

   whether CommScope’s alleged trade secrets may be considered protected trade

   secrets. I understand and believe that the requested witnesses’ testimony will be

   relevant to Rosenberger’s defenses based on CommScope’s treatment of its own

   alleged trade secrets.

   4.        The parties have been working diligently to plan for depositions including

   identifying witnesses, exchanging Rule 30(b)(6) deposition notices and objections,

   and conducting numerous lengthy discussions about depositions. On these calls,

   the parties attempted to resolve discovery disputes and canvassed each other in an

   attempt to come up with a workable solution that would allow the parties to obtain

   the discovery necessary for this litigation by the end of fact discovery as presently

   ordered. Indeed, prior to the present outbreak, Rosenberger and CommScope were

   intending to address the problems associated with depositions being illegal in

   Mainland China by having employees/witnesses travel internationally for

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   depositions. That solution is not presently workable. Yet, the parties have not

   been able to devise a practical alternative plan to conduct depositions before the

   scheduled end of fact discovery. The meet and confers have led to numerous

   agreements that will help generally for discovery and specifically for depositions to

   move forward efficiently. Specifically, the parties have:

               exchanged the names of foreign and domestic witnesses;
               exchanged Rule 30(b)(6) deposition notices and objections for the 10
                parties involved in this litigation;
               participated in meet-and-confer calls regarding those notices and
                objections;
               exchanged proposed dates for the more than 50 Rule 30(b)(1)
                depositions that will be taken between this case and the Delaware
                patent case;
               agreed on the number of hours for translated depositions;
               agreed on a “joint-use” agreement that will allow the use of
                information in both this case and the Delaware patent case, while
                respecting the discovery confidentiality orders entered in each case;
               taken steps to resolve the parties’ disputes regarding Rosenberger’s
                compliance with this Court’s orders dated September 21, 2021 (Dkt.
                471), and February 17, 2022 (Dkt. 511), and are continuing to work
                through related issues

   5.    Attached as Exhibit A is a true and correct copy of an April 14, 2022, email

   from Alicia Yu, Vice President of Legal at Rosenberger Technology (Kunshan)

   Co. Ltd. (dba Prose).

   6.    Attached as Exhibit B is a true and correct copy of an April 11, 2022 CNBC

   article titled, “U.S. State Department orders all non-emergency government staff in

   Shanghai to leave as Covid surges.”



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         I declare under penalty of perjury under the laws of the United States that to

   the best of my knowledge and recollection the foregoing is true and correct.



         /s/ Michael S. DeVincenzo
         Michael S. DeVincenzo

         Executed this 14 day of April 2022.




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                         Exhibit A
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    From:             Alicia Yu(Yu Haiying)
    To:               DeVincenzo, Michael (US); Petrsoric, John (US); Roy Liu(Liu Yi); shanghong; Riebsamen, Gabriel; Daniel Galvis;
                      Katie Zheng(Zheng Lan); Rosenberger NJ; Rosenberger DE
    Subject:          Rosenberger Kunshan (Information Regarding Lockdowns and Employees)
    Date:             Thursday, April 14, 2022 9:56:49 AM
    Attachments:      image001.png


    Hi Mike,

             Rosenberger Technology (Kunshan) Co. Ltd.’s facilities are located in Kunshan, Jiangsu, China,
    which is approximately 40 miles west of Shanghai. Kunshan is currently in lockdown for COVID,
    residents must stay at home. Currently, the Rosenberger Kunshan facility is not operating due to the
    lockdown. We do not know when that facility will reopen. However, with the recently implemented
    zero-COVID policy we expect the lockdown will last for some time.
      
             Among the nine Rosenberger Kunshan employees that will be deposed in this litigation, two
    Rosenberger Kunshan employees who will be deposed, Aili Liu and Jing Sun, live in Shanghai. The
    remaining witnesses live in Suzhou, Jiangsu province, where Kunshan is located. Presently, both
    Suzhou, Jiangsu and Shanghai are subject to lockdowns. Under the current lockdowns in effect,
    citizens are not allowed to go outside their home except in very special circumstances like serious
    illness. The closest airport for Rosenberger Kunshan employees would be from Shanghai airports for
    any overseas travel.

             I got some information on each employee subject to deposition and, as detailed below, many
    of the employees have family situations that would make leaving impractical. Please note that
    employees at the present time are more concerned with things of life like access to living essentials
    like food, drinkable water, medicine and their families’ health than their prospect of international
    travel for work.

             1.  Li Fan has a daughter under a year old. Ms. Fan is concerned that a one-month absence will
    lead to separation anxiety in her daughter and lead to worse impacts on her sense of security. She
    informed me she believes that the parent-child relationship is critically important for an infant.

            2.  Qian Hanyu and his wife care for two young children. His youngest child is 14 months old
    and requires full-time care. His wife works fulltime and her job often requires overtime. Given these
    conditions, he has indicated that a long separation from his family would be unworkable.

            3.  Tao Jiang’s wife is expecting a baby. In addition his wife will need help after the baby is
    born. Given these circumstances, he has indicated that the quarantine restrictions would place a real
    and substantial burden on him and his family.

             4.  Aili Liu is a United States citizen. She has indicated that returning to China is extremely
    difficult for her. Early in the pandemic outbreak, Ms. Liu was forced to live outside of China for over
    18 months. In addition, she has indicated that she in in a high-risk group for COVID and does not feel
    comfortable traveling abroad with COVID levels where they are at right now.

             5.  Lishao Cai and his wife are responsible for two children and the care of two elderly
    relatives at home. He has indicated that if he were forced to quarantine, it would present a real and
    substantial burden on his wife and family.

             6.  Zhongcao Yang and his wife are responsible for two children. His wife works full time. He
    has indicated that if he had to quarantine there will be periods where they will have no one to care for
    their children.

            7.  Sun He and his wife are responsible for two children and his wife’s parents who are in poor
    health. His wife has a full-time job and he has indicated that he would not be able to quarantine
    without extensive help for his family.

    I hope this is sufficient of the Court as I do not have access to everything I typically would. Please note
    the recent lockdowns have had rather drastic effects on the every-day life of the employees. If the
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    Court needs additional information, please let us know. We appreciate kind consideration from the
    Court on the factual difficulties of said employees of Rosenberger Kunshan.

    Thanks a lot.

    Best regards!
    Alicia Yu 于海鹰

    Legal VP




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    the intended recipient, please contact the sender and delete this message. Any unauthorized
    copying of this message or unauthorized distribution of the information contained herein is
    prohibited.

    Data security advice: Please be aware, that data exchange via Internet or E-Mail is not 100%
    safe. Therefore, please handle sensitive or confidential data with care.
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